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  8                            UNITED STATES DISTRICT COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
10
11    J.N.,                              )   Case No. CV 14-02428 DDP (PLAx)
                                         )
12                         Plaintiff,    )   ORDER GRANTING DEFENDANT ANNE
                                         )   MARIE SCHUBERT’S MOTION TO
13            v.                         )   DISMISS
                                         )
14    DETECTIVE HEATHER M.               )   [Dkt. No. 40]
      HENDRICKSON #429; ANNE MARIE       )
15    SCHUBERT; RICK BRAZIEL;            )
      DETECTIVE J. LEROSE #773;          )
16    SGT. DUBKE; SACRAMENTO             )
      POLICE DEPARTMENT; CITY OF         )
17    SACRAMENTO; TEN UNKNOWN            )
      NAMED DEFENDANTS                   )
18                                       )
                                         )
19    Defendants.                        )
                                         )
20    ___________________________        )
21            Presently before the Court is Defendant Anne Marie Schubert’s
22    Motion to Dismiss for Failure to State a Claim.          Having heard oral
23    arguments and considered the parties’ submissions, the Court adopts
24    the following order.
25    I.      BACKGROUND
26            Plaintiff J.N. brought a § 1983 action against various members
27    of the Sacramento Police Department (“SPD”), the SPD, the City of
28    Sacramento, unknown named defendants (“Does”), and Defendant Anne
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  1   Marie Schubert (“Schubert”), who is a Deputy District Attorney for
  2   the County of Sacramento.     (Third Am. Compl. at 3-5.)       Plaintiff
  3   contends that Defendants’ investigation, arrest, and prosecution of
  4   him was malicious and not supported by probable cause.          (See id. at
  5   2-3; 33-34; 41-45.)    He further contends that Defendants fabricated
  6   evidence and suppressed exculpatory evidence during the
  7   prosecution.    (See id. at 3; 33-34; 41-45.)
  8         Plaintiff originally filed his complaint on March 31, 2014.
  9   (Dkt. No. 1.)   By the parties’ stipulation, Plaintiff filed his
10    Third Amended Complaint on March 15, 2015, in which he added
11    Defendant Schubert.    (See Dkt. No. 29, Third Am. Compl.)          Defendant
12    Schubert has now filed a Motion to Dismiss.        (Dkt. No. 40.)
13    II.   LEGAL STANDARD
14          A 12(b)(6) motion to dismiss requires a court to determine the
15    sufficiency of the plaintiff's complaint and whether it contains a
16    “short and plain statement of the claim showing that the pleader is
17    entitled to relief.”    Fed. R. Civ. P. 8(a)(2).       Under Rule
18    12(b)(6), a court must (1) construe the complaint in the light most
19    favorable to the plaintiff, and (2) accept all well-pleaded factual
20    allegations as true, as well as all reasonable inferences to be
21    drawn from them.    See Sprewell v. Golden State Warriors, 266 F.3d
22    979, 988 (9th Cir. 2001), amended on denial of reh’g, 275 F.3d 1187
23    (9th Cir. 2001); Pareto v. F.D.I.C., 139 F.3d 696, 699 (9th Cir.
24    1998).
25          In order to survive a 12(b)(6) motion to dismiss, the
26    complaint must “contain sufficient factual matter, accepted as
27    true, to ‘state a claim to relief that is plausible on its face.’”
28    Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (quoting Bell Atl.

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  1   Corp. v. Twombly, 550 U.S. 544, 570 (2007)).        However,
  2   “[t]hreadbare recitals of the elements of a cause of action,
  3   supported by mere conclusory statements, do not suffice.”          Id. at
  4   678.   Dismissal is proper if the complaint “lacks a cognizable
  5   legal theory or sufficient facts to support a cognizable legal
  6   theory.”    Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097,
  7   1104 (9th Cir. 2008); see also Twombly, 550 U.S. at 561-63
  8   (dismissal for failure to state a claim does not require the
  9   appearance, beyond a doubt, that the plaintiff can prove “no set of
10    facts” in support of its claim that would entitle it to relief).
11           A complaint does not suffice “if it tenders ‘naked
12    assertion[s]’ devoid of ‘further factual enhancement.’”          Iqbal, 556
13    U.S. at 678 (quoting Twombly, 550 U.S. at 556).         “A claim has
14    facial plausibility when the plaintiff pleads factual content that
15    allows the court to draw the reasonable inference that the
16    defendant is liable for the misconduct alleged.”         Id.   The Court
17    need not accept as true “legal conclusions merely because they are
18    cast in the form of factual allegations.”        Warren v. Fox Family
19    Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003).
20    III. DISCUSSION
21           Defendant Schubert has filed a Motion to Dismiss based on two
22    grounds: first, that she is entitled to absolute prosecutorial
23    immunity; and second, that the claims against her are time barred.
24    (Def. Mot. Dismiss at 1.)
25           A.   Absolute Prosecutorial Immunity
26           Defendant Schubert argues that any allegation against her in
27    Plaintiff’s Third Amended Complaint, such as signing an arrest
28    warrant declaration, “relates to her actions as a Deputy District

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  1   Attorney involved in preparing to prosecute and/or the actual
  2   prosecution of Plaintiff for various criminal violations,” for
  3   which Defendant is immune.     (Def.’s Mot. Dismiss at 3.)       Plaintiff
  4   argues that Defendant Schubert is not protected by absolute
  5   immunity “because Ms. Schubert was performing the function of a
  6   ‘complaining witness,’ . . . when she signed the arrest warrant
  7   declaration,” relying on Kalina v. Fletcher, 522 U.S. 118, 131
  8   (1997).   (Pl.’s Opp’n Mot. Dismiss at 3 (citation omitted).)
  9   Defendant Schubert responds that Kalina does not support
10    Plaintiff’s argument because “Plaintiff does not allege or offer
11    any evidence that Schubert authored a similar type of document as
12    that of the prosecutor in Kalina or that Schubert personally
13    vouched for the information provided in the attached report
14    authored by Detective Hendrickson.”       (Def.’s Reply to Pl.’s Opp’n
15    Mot. Dismiss at 4.)
16         Courts take a functional approach to analyzing a prosecutor’s
17    claim of absolute immunity.     Immunity decisions are based on “the
18    nature of the function performed, not the identity of the actor who
19    performed it.”   Kalina, 522 U.S. at 127 (internal quotations and
20    citation omitted).    The official seeking absolute immunity bears
21    the burden of showing that such immunity is justified for the
22    function in question.    Buckley v. Fitzsimmons, 509 U.S. 259, 269
23    (1993).
24         Prosecutors are absolutely immune from § 1983 damages
25    liability for “initiating a prosecution and in presenting the
26    State’s case.”   Imbler v. Pachtman, 424 U.S. 409, 431 (1976).
27    However, “[a] prosecutor’s administrative duties and those
28    investigatory functions that do not relate to an advocate’s

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  1   preparation for the initiation of a prosecution or for judicial
  2   proceedings are not entitled to absolute immunity.” Buckley, 509
  3   U.S. at 273.   Prosecutors are accorded only qualified immunity when
  4   performing investigatory as opposed to advocacy functions.          See
  5   Herb Hallman Chevrolet, Inc. v. Nash-Holmes, 169 F.3d 636 (9th Cir.
  6   1999).
  7        In the present case, Plaintiff alleges that Defendant Schubert
  8   is not immune for her conduct in executing and presenting to the
  9   Superior Court of California a declaration in support of an arrest
10    warrant.    (Third Amended Compl. ¶¶ 69-70.)      The Third Amended
11    Complaint does not attach the declaration, but Plaintiff states
12    that in the declaration, Schubert
13         declared under penalty of perjury that pursuant to her
           employment as a Deputy District Attorney for the County of
14         Sacramento she has “been assigned to investigate
           allegations that [plaintiff J.N.] did commit the crime(s)
15         as set forth in the attached complaint” and that she had
           contacted persons having knowledge of said offenses and who
16         prepared written reports and/or statements, and/or had
           received and read written reports and/or statements
17         prepared by others known to her to be law enforcement
           officers, all of which reports and/or statements are
18         included in a report consisting of 6 pages attached to the
           declaration as Exhibit I and incorporated by reference
19         thereto.
20    (Third Am. Compl. ¶ 69.)     The six-page report attached to
21    Schubert’s declaration was written by Defendant Hendrickson, an SPD
22    detective.   (Id. ¶ 71.)    The six-page report is the document that
23    Plaintiff alleges contained false statements and
24    misrepresentations, as well as omitted exculpatory information.
25    (Id. ¶¶ 71-73.)    Plaintiff alleges that but for these problems with
26    the report, “there would not have been adequate evidence to support
27    probable cause for issuance of the arrest warrant or search
28    warrant.”    (Id. ¶ 74.)   Plaintiff relies on Kalina to show

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  1   Defendant Schubert is not entitled to immunity because Schubert
  2   attached the false report to her sworn declaration.         (Pl.’s Opp’n
  3   Mot. Dismiss at 3.)
  4          In Kalina, the Court concluded that a prosecutor who completed
  5   a “Certificate for Determination of Probable Cause” in conjunction
  6   with an arrest warrant had engaged in “the evidentiary component of
  7   an application for an arrest warrant” and therefore had acted as a
  8   witness.   Kalina, 522 U.S. at 129, 131.       The prosecutor there had
  9   certified under penalty of perjury to the truth of the factual
10    matters alleged to support probable cause.        Id. at 130-31.
11           Here, Defendant Schubert attached a six-page report with
12    factual statements written and sworn by Detective Hendrickson to
13    Schubert’s own sworn declaration.        (See Third Am. Compl. ¶¶ 22-23,
14    25.)   But there is nothing to indicate that Schubert acted as a
15    witness in executing her arrest warrant declaration.         Schubert did
16    not “personally attest[] to the truth of the averments,” see
17    Kalina, 522 U.S. at 129, in Hendrickson’s report.         Instead,
18    Schubert stated under penalty of perjury that she had “contacted
19    persons having knowledge of said offenses and who prepared written
20    reports and/or statements, and/or had received and read reports
21    and/or statements prepared by others known by her to be law
22    enforcement officers.”     (Third Amended Compl. ¶ 69.)      These other
23    persons were the ones attesting to the truth of the report alleged
24    by Plaintiff to have violated his rights.        Thus, because Schubert’s
25    statements are those of an advocate and not a witness, Schubert is
26    entitled to absolute prosecutorial immunity for her actions as
27    alleged in the Third Amended Complaint.
28    ///

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  1         B.   Statute of Limitations
  2         Defendant Schubert alleges that Plaintiff’s adding her to the
  3   case for the first time in the Third Amended Complaint is time
  4   barred because the amendment does not relate back to the filing of
  5   the first complaint.    (Def.’s Mot. Dismiss at 4.)       Plaintiff argues
  6   that the claim does relate back because the initial complaint
  7   alleged harms — such as the arrest warrant’s issuance — done by Doe
  8   defendants, and that the amendment merely added Schubert as a
  9   former Doe defendant.    (Pl.’s Opp’n Mot. Dismiss at 5.)
10          Because the Court finds that Defendant Schubert is protected
11    by absolute prosecutorial immunity for the actions the Third
12    Amended Complaint alleges Schubert did that resulted in Plaintiff’s
13    harm, the Court does not resolve the time bar issue.
14    IV.   CONCLUSION
15          For the reasons stated above, Defendant Schubert’s Motion to
16    Dismiss is GRANTED with prejudice.
17
18    IT IS SO ORDERED.
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21    Dated: September 22, 2015
22
                                               HON. DEAN D. PREGERSON
23                                             United States District Judge
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